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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF OKLAHOMA

(1) RUBY JONES,                          )
                                         )
                    Plaintiff,           )
                                         )
vs.                                      )      Case No. CIV-21-457-R
                                         )
(1) CITY OF OKLAHOMA CITY,               )
a municipal corporation;                 )
(2) DAN BRADLEY, in his individual       )
capacity,                                )
(3) RYAN STAGGS, in his individual       )
capacity, and                            )
(4) JAMES RAY, in his individual         )
capacity,                                )
                                         )
                    Defendants.          )

                      NOTICE OF CONSENT TO REMOVAL
                        OF DEFENDANT DAN BRADLEY

      Pursuant to 28 U.S.C. §1446(b), Defendant Dan Bradley, in his individual capacity,

consents to the removal of this case from the District Court of Oklahoma County to the

United States District Court for the Western District of Oklahoma.



                                                Respectfully submitted,

                                                s/ Ambre C. Gooch
                                                Ambre C. Gooch, OBA No. 16586
                                                Stacey Haws Felkner, OBA No. 14737
                                                COLLINS, ZORN & WAGNER, P.C.
                                                429 N.E. 50th Street, 2nd Floor
                                                Oklahoma City, OK 73105-1815
                                                Telephone: (405) 524-2070
                                                E-mail: acg@czwlaw.com
                                                 shf@czwlaw.com
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                                                  ATTORNEYS FOR DEFENDANT
                                                  DAN BRADLEY, in his individual
                                                  capacity


                             CERTIFICATE OF SERVICE

       I hereby certify that on June 2, 2021, I electronically transmitted this filing to the
Clerk of Court using the ECF System for filing and transmittal of a Notice of Electronic
Filing to the following ECF registrant:

       Damario Solomon-Simmons, email at: dss@solomonsimmons.com
       Kymberli J. M. Heckenkemper, email at: kheckenkemper@solomonsimmons.com
       SOLOMON SIMMONS LAW, PLLC
       601 S. Boulder Ave., Suite 600
       Tulsa, OK 74119

       J. Spencer Bryan, email at: jsbryan@bryanterrill.com
       Steven J. Terrill, email at: sjterrill@bryanterrill.com
       BRYAN & TERRILL
       3015 E. Skelly Dr., Suite 400
       Tulsa, OK 74105

       M. Kevin McIlwain, email at: kmcilwain@smilinglaw.com
       SMILING, SMILING & BURGESS
       Bradford Place, Suite 300
       9175 S. Yale Avenue
       Tulsa, OK 74137
       Attorneys for Plaintiff

       Richard N. Mann, email at: Richard.mann@okc.gov
       Thomas L. Tucker, email at: thomasltucker@okc.gov
       Assistant Municipal Counselor
       City of Oklahoma City
       200 N. Walker Avenue, Suite 400
       Oklahoma City OK 73102
       Attorneys for Defendant City of Oklahoma City


                                                         s/ Ambre C. Gooch
                                                         Ambre C. Gooch



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